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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF VIRGINIA
                           ALEXANDRIA DIVISION

  SONY MUSIC ENTERTAINMENT, et al.,

                   Plaintiffs,          Case No. 1:18-cv-00950-LO-JFA

             v.

  COX COMMUNICATIONS, INC, et al.,

                   Defendants.


    COX’S REPLY IN SUPPORT OF COX’S EMERGENCY MOTION TO APPROVE
  SUPERSEDEAS BOND AND STAY EXECUTION PENDING APPEAL (DKT. NO. 725)
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        Cox Communications, Inc. and CoxCom, LLC (collectively, “Cox” or “Defendants”)

 respectfully submit this reply memorandum in further support of Cox’s Emergency Motion to

 Approve Supersedeas Bond and Stay Execution Pending Appeal (Dkt. No. 725) (“Motion”).

        As a preliminary matter, Plaintiffs do not object to Cox’s proposed bond form, including

 the amount. The form of bond should therefore be approved. Unable to fault the bond itself,

 Plaintiffs assert two meritless procedural objections, which Cox addresses in turn.

        First, Plaintiffs seem to assert that a Rule 62(b) motion for stay is improper before Cox has

 filed its notice of appeal. Plaintiffs are wrong. Nothing in the current Rule precludes a party from

 seeking a stay before noticing its appeal. Prior to 2018, the Rule provided that a bond could be

 posted “at or after the time of the filing of the notice of appeal.” The 2018 amendment eliminated

 that language, and the Rule now expressly permits a party to “obtain a stay by providing a bond or

 other security” “[a]t any time.” See Fed. R. Civ. P. 62(b) (emphasis added).          The Advisory

 Committee notes to the 2018 amendment confirm that a pending appeal is not a prerequisite to a

 stay of enforcement. They explain that “a party may wish to secure a stay pending disposition of

 post-judgment proceedings after expiration of the automatic stay, not yet knowing whether it will

 want to appeal.” Fed. R. Civ. P. 62(b) advisory committee’s note (2018) (emphasis added). The

 courts agree. See, e.g., Vahora v. Valley Diagnostics Lab., Inc., No. 1:16-CV-01624-SKO, 2019

 WL 5960204, at *2 (E.D. Cal. Nov. 13, 2019) (approving bond prior to the filing of a notice of

 appeal); Raymond v. Wilcox Mem’l Hosp., No. CV 15-00212 ACK-RLP, 2019 WL 1966095, at *1

 (D. Haw. May 2, 2019) (same). In any event, Cox intends to file its notice of appeal on or before

 February 11, 2021, and Cox’s Proposed Order expressly provides that the stay prevents execution

 “while any appeal or petition is pending”—such that if Cox were to fail to appeal, the stay would

 be inoperative. Thus, there is no basis to deny Cox’s requested relief.
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          Second, Plaintiffs assert, without support, that the stay should dissolve upon the resolution

 of the “appeal.” Dkt. No. 728 at 1. But Rule 62(b) states that a stay “remains in effect for the time

 specified in the bond or other security.” Fed. R. Civ. P. 62(b). Here, Cox’s proposed bond would

 remain in effect unless the judgment is vacated or the appeal is dismissed or affirmed in whole or

 in part and Cox satisfies the judgment. Dkt. No. 725-1 at 2. Thus, the Court is permitted to enter

 a stay that remains in effect through the resolution of Cox’s petition for certiorari, if necessary.

          Further, Cox has posted a bond that includes two years’ worth of post-judgment interest.

 As of 2020, the average duration of an appeal in the Fourth Circuit was 6.2 months. 1 Thus, the

 amount of post-judgment interest posted by Cox is more than sufficient to cover the time during

 which a petition for certiorari would be pending, if necessary.

          Cox respectfully requests the Court approve Cox’s proposed form of bond, which Plaintiffs

 do not contest, and enter a stay of the enforcement of the judgment during the pendency of Cox’s

 anticipated appeal to the Fourth Circuit and, if necessary, while a petition for certiorari is pending.


 Dated: February 4, 2021                                Respectfully submitted,

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     See https://www.ca4.uscourts.gov/docs/pdfs/publicstats.pdf?sfvrsn=5524a238_221.
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 4, 2021, the foregoing was filed and served electronically

 by the Court’s CM/ECF system upon all registered users.



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